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                  Exhibit 6
        Civil Action No. 25-cv-0952 (CKK)
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS, et al.,

                     Plaintiffs,
                                                  Civil Action No. 25-0946 (CKK)
      v.

EXECUTIVE       OFFICE             OF     THE
PRESIDENT, et al.,

                      Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                     Plaintiffs,
                                                  Civil Action No. 25-cv-0952 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                     Plaintiffs,
                                                  Civil Action No. 25-0955 (CKK)
      v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                Defendants.


         DECLARATION OF ERIK RUSELOWSKI IN SUPPORT OF
 DEMOCRATIC PARTY PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


      I, Erik Ruselowski, declare as follows:
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       1.      I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

       2.      I am the Chief Operating Officer of DCCC.

       3.      I first joined DCCC in September 2016. I have served as Chief Operating Officer

since February 2022.

       4.      DCCC, also known as the Democratic Congressional Campaign Committee, is the

Democratic Party’s national congressional committee. Its mission is to elect candidates of the

Democratic Party from across the country to the U.S. House of Representatives. In support of this

mission, DCCC seeks to encourage and assist Democratic Party members and constituents in

casting ballots and having those ballots count; to register new voters as Democratic Party members

and constituents; to preserve the lawful registration status of Democratic Party members and other

Democratic Party constituents; to protect registered Democratic Party members and constituents

from unlawful retaliation or intimidation; and to preserve the legal rights of our voters. DCCC’s

members and constituents are grassroots Democratic voters in all 50 states.

       5.      In my role, I support DCCC’s day-to-day operations and manage committee-level

initiatives, budgeting, technology, and administration. I engage on an as-needed basis with all of

DCCC’s activities, and I interact with DCCC’s officers and employees at all levels.

       6.      DCCC is actively planning, preparing, budgeting, and strategizing for the

upcoming 2026 midterm elections as well as special elections that will occur between now and

then. Through its Frontline program, DCCC provides Democratic Members of Congress from

competitive seats both the resources and support to execute effective reelection campaigns. For

the 2026 election, DCCC is currently supporting 26 candidates in 15 states, including California,

Connecticut, Indiana, Maine, Michigan, North Carolina, New Jersey, New Mexico, Nevada, New




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York, Ohio, Oregon, Texas, Virginia, and Washington. DCCC is planning to spend resources to

defeat Republicans in competitive congressional districts around the country including, for

example, in Arizona, Colorado, Florida, Iowa, Michigan, Missouri, Nebraska, and Pennsylvania.

DCCC expects to compete in additional Republican-held districts as well.

       7.      As we get closer to election day, DCCC heavily focuses on encouraging

Democratic voters to vote, including by mail, and making sure they have the knowledge and

resources to do so effectively. Particularly since the pandemic, DCCC has expended significant

resources to encourage voters to vote by mail, because that method is often the most convenient

or accessible way for voters to participate.

       8.      In recent years, DCCC has developed a comprehensive education, assistance, and

ballot-cure program to ensure Democratic voters are able to cast mail ballots and have them

counted. In many districts, these programs were built with the understanding that voters’ ballots

will be counted if they are postmarked by election day and returned by the Postal Service to the

proper state election official or office by their state’s deadline, which, in many states, extends past

election day. Through ballot-cure programs, DCCC and others identify qualified voters whose mail

ballots are slated for rejection due to a non-substantive defect, such as a missing signature on a

ballot envelope, and work with those voters to correct the errors and timely return their ballots to

be counted.

       9.      President Trump’s imposition of a national election day ballot receipt deadline will

directly disenfranchise DCCC’s constituents—including members of the military, their families,

and countless others who rely on voting by mail—by requiring states to reject ballots not received

by election day, even where state law provides a longer period for receipt. The impact will fall

particularly hard on many DCCC constituents including, in particular, voters in states where




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elections are conducted primarily by mail, such as California, Nevada, Oregon, Utah, and

Washington—all of which have mail ballot receipt deadlines past election day, and many of which

have competitive districts that are regularly decided by small margins. The same is true in New

York, which recently expanded mail voting to all voters.

       10.     Congressional elections in California, in particular, will be heavily impacted by an

election day ballot receipt deadline given the sheer size of the state and the widespread use of mail

ballots. California currently accepts mail ballots that arrive up to seven days after election day.

And in recent elections, an overwhelming majority of California voters submitted their ballots by

mail—in the 2022 general election, more than 9 million mail ballots were submitted, comprising

nearly 90% of all votes. And in 2024, over 13 million mail ballots were submitted, accounting for

more than 80% of all votes. California also has 52 congressional districts—the most of any state,

and several of which have had extremely close elections in past cycles. In 2024, the election in

California’s 13th congressional district was the closest congressional race in the country, decided

by a margin of .09%—just 187 votes. Given these numbers, shortening the mail ballot receipt

deadline by a week will negatively impact a substantial number of voters and is likely to impact

the outcome of congressional elections.

       11.     The imposition of a national election day receipt deadline will cause significant

confusion among voters as to which deadline applies – election day, per the President’s Executive

Order, or state law. Voters may follow their own state’s law only to be disenfranchised as a result.

DCCC further fears that the requirement could call into question state laws that permit voters to

“cure” timely mail ballots with minor technical errors in the days after election day, undermining

DCCC’s planned post-election ballot cure program.

       12.     Voters often get accustomed to voting a certain way by a certain deadline, and in




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fact, DCCC encourages developing voting habits so that voting becomes routine for its

constituents. Because it is difficult to change voters’ habits, and because of mail delays that are

usually outside of the voters’ control, DCCC expects that, despite its best efforts, the new mail

ballot receipt deadline will inevitably lead to voter disenfranchisement and cause DCCC

candidates to lose votes because ballots will arrive after the deadline. Other voters may not vote at

all, even if they have a ballot in hand, if they believe that the ballot is not likely to arrive before

the deadline, or are confused about the deadline in general.

       13.     In an effort to thwart the harmful effects of President Trump’s Order and to ensure

voters are not disenfranchised, DCCC will have to revise its existing mail-voter assistance and

education program to ensure voters are educated about the election day deadline decreed by

President Trump. The Postal Service and state officials typically advise voters to build in seven

days or more for a ballot to be delivered, and even that window is often not sufficient. The Postal

Service also recently announced a plan to cut 10,000 jobs, reduce work hours, and close facilities,

all of which will slow down mail service.

       14.     Given the likelihood of mail delays, DCCC will need to spend resources aimed at

encouraging voters to return their ballots far sooner than they have in the past, and without the

benefit of a clear election day deadline for placing their ballots in the mail. DCCC will also need

to consider standing up additional voter education and engagement programming to encourage

voters to use other methods of voting to minimize the risk of disenfranchisement. And in states

that have previously counted ballots that arrive after election day, the change also means that mail

voters have less time to make their final decisions about which candidates to support, and DCCC

consequently has less time to persuade and mobilize them. This time crunch will inevitably impact

when and how DCCC spends its resources to persuade and mobilize voters.




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        15.    DCCC will be further forced to prepare, and eventually implement, a revised ballot

cure program to account for the risk that election officials will refuse to allow timely ballots to be

cured past election day. DCCC’s resources are extremely limited in the weeks leading up to

election day, as we are prioritizing turning out as many voters as possible and persuading any last

minute, undecided voters. If ballots must be cured by election day, DCCC will necessarily have to

divert resources away from getting out the vote and persuading voters when that work is most

critical.

        16.    These programs, which will need to be implemented in dozens of states, come at a

significant cost. Consider California again. Due to the sheer size of the state and the overwhelming

prevalence of mail voting, DCCC will need to run a massive voter education campaign on the issue

in multiple congressional districts.

        17.    Decisions on budgeting begin now for November 2026, and DCCC seeks to

maximize the resources it has for persuading and mobilizing our members and constituents to elect

Democratic candidates to Congress. For example, a large portion of DCCC’s budget for the 2026

election cycle is allocated for persuasion and getting out the vote. This effort will require

significant expenditures on advertisements, peer-to-peer texting, and canvassing. Because DCCC

now must consider using those resources for voter education in many states on an earlier mail

ballot deadline, we will necessarily have to take resources away from these crucial persuasion and

get-out-the-vote activities.

        18.    DCCC is also working to ensure that all eligible Democratic voters and voters who

are likely to support Democratic candidates are registered to vote, and that their registrations are

current. DCCC often invests in voter registration programs, either directly or indirectly, to

encourage our constituents in states across the country to register to vote in the most accessible




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way. For some of our constituents, the most accessible option for registering to vote is the National

Mail Voter Registration Form, commonly referred to as the “Federal Form.” This form streamlines

the voter registration process and does not require voters to gather or submit any additional

documentation in order to be successfully registered to vote.

        19.     Existing law already makes it illegal for foreign nationals to register and vote in our

elections, and our existing law prevents non-citizens from voting. There is zero evidence of

widespread voting by non-citizens in U.S. elections. President Trump’s unnecessary imposition of

a documentary proof of citizenship requirement will make it significantly harder for DCCC’s

constituents—qualified U.S. citizens—to register and remain registered to vote.

        20.     Millions of American citizens, including many of DCCC’s citizen-constituents,

lack qualifying proof of citizenship documents, and as a result, will be unable to register to vote

using the Federal Form. Many of DCCC’s lower-income constituents and voters who do not travel

out of the country are likely to lack qualifying citizenship documents—like a passport—or the

ability to easily obtain them. President Trump’s proof of citizenship requirement also singles out

recipients of public assistance for additional citizenship assessments before even receiving a

Federal Form. Additionally, a majority of DCCC’s constituents are women, many of whom have

changed their last name upon marriage, such that their legal name does not match their citizenship

documents. It will therefore be more difficult for married women to provide documentary proof of

citizenship to register to vote as well.

        21.     The Order’s burdensome documentary proof of citizenship requirement makes no

exception for overseas and military voters, who are often located in remote areas without access

to a copy machine or printer. The proof of citizenship requirement will therefore make it virtually

impossible for many eligible voters, including those serving our country, to send proof of their




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citizenship to their county election board, and they will be prohibited from exercising their

fundamental right to vote.

       22.     The burdens imposed by the documentary proof of citizenship requirement will be

particularly acute in Arizona, where there is a special congressional primary election in Arizona

Congressional District 7 on July 15, 2025, and a general election on September 23, 2025. Voter

registration for the primary and general election close on June 16, 2025 and August 25, 2025,

respectively. Arizona has imposed a documentary proof of citizenship requirement to vote in state

elections, but until President Trump’s Order, allowed voters to register with the Federal Form and

vote in federal elections without providing proof of citizenship. Such voters who use the Federal

Form and do not provide proof of citizenship are known as “federal-only” voters. With President

Trump’s mandate that Federal Form users also submit documentary proof of citizenship, all voter

registrants in Arizona will be required to submit such documentation, regardless of the form they

use to register. As of July 2023, there were nearly 20,000 active federal-only voters in Arizona

who were registered without documentary proof of citizenship. And that number does not account

for the thousands of citizens who are eligible to vote in Arizona, but are not yet registered and now

will be unable to register because they lack the required proof of citizenship.

       23.     When making budget decisions, DCCC will now need to consider the work that

will be required to help prospective voters comply with the documentary proof of citizenship

requirement. For example, in states where DCCC helps with voter registration programs, it will

need to spend resources to ensure eligible voters are aware that all new registrants must provide

qualifying proof of citizenship when registering with the Federal Form. This effort may result in

DCCC spending resources so eligible voters are informed that only certain documents qualify as

proof of citizenship under President Trump’s Order, and have assistance in obtaining such




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documents if they do not already have them.

       24.     In elections, the resources a political party committee has are limited as the

committee works to expend its resources to elect its candidates in any given election cycle.

Resources that must be diverted to responding to a seismic change like those contained in President

Trump’s Order necessarily come at the cost of other of DCCC’s mission-critical planned activities

and expenditures.

       25.     DCCC’s voter registration efforts will be further upended by President Trump’s

Order granting third parties—including DOGE—unauthorized access to federal systems and

databases containing the personal information of DCCC’s constituents. These unauthorized

disclosures may subject DCCC’s members and constituents to unlawful investigation and possible

removal from the voter rolls based on false suspicion of not being U.S. citizens. In turn, it may be

harder for DCCC to register new voters who reasonably fear that their personal identifying

information will be disclosed to third parties. Some of our constituents are extremely concerned

about protecting their private information and mistrust DOGE, so much so that they will be willing

to forgo registering and exercising their right to vote to ensure that their information is protected

from DOGE. That means that DCCC will need to tailor its voter registration efforts in light of

these privacy concerns.

       26.     Additionally, granting such unauthorized disclosures will put DCCC’s constituents

at risk of being wrongly removed from the voter rolls. DCCC will therefore need to consider how

to provide guidance to voters on checking their registrations and the process of restoring their

registrations—including by complying with the new DPOC requirements—if they have been

wrongly removed.

       27.     The Order’s ballot receipt deadline, proof of citizenship requirement, and




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unauthorized data-sharing provisions impose imminent harm on DCCC. As explained above,

DCCC will need to redirect significant amounts of its limited resources to thwart the harmful

effects of these massive changes to voting and election rules, and those budget allocation decisions

are being made now. Once resources are diverted toward unplanned programming, they cannot be

used to persuade voters to elect Democratic candidates, directly undermining DCCC’s mission.

       28.     This reality puts DCCC at a competitive disadvantage. In the last several election

cycles, Democrats have become more likely to vote by mail. Because of demographics, Democrats

are disproportionately likely to lack qualifying proof of citizenship and to be wrongly suspected

of not being a citizen. By dictating these new rules for federal elections, President Trump is

therefore making it more difficult for DCCC’s members and constituents to vote in elections, and

for the candidates that DCCC supports to compete.



       I declare under penalty of perjury that the foregoing is true and correct.
                                                             
                                              Executed on: _______________________________



                                              __________________________________________
                                              Erik Ruselowski, Chief Operating Officer
                                              DCCC




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